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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

SHERRI HARSHBARGER, AND
MARK TADLOCK

       Plaintiffs,
                                                            NO.   16-cv-783
vs.

ORIENTAL TRUCKING, LIHANG LIU,
AND AMTRUST NORTH AMERICA

       Defendant(s).

                         COMPLAINT FOR PERSONAL INJURIES

       COME NOW, Plaintiffs Sherri Harshbarger and Mark Tadlock by and through their

attorneys, MARTINEZ, HART, THOMPSON & SANCHEZ, P.C. (F. Michael Hart) and for their

Complaint against Defendants state:

                                JURISDICTION AND VENUE

       1.      Plaintiff Sherri Harbarger is a resident of Pittsburg County, Oklahoma.

       2.      Plaintiff Mark Tadlock is a resident of Bradford County, Pennsylvania.

       3.      Upon information and belief, Defendant Lihang Liu is a resident of Los Angeles

County, California.

       4.      Plaintiffs were operating a motor vehicle upon the highways of New Mexico, when

the accident occurred.

       5.      Defendant Lihang Liu was operating a motor vehicle upon the highways of New

Mexico, when the accident occurred.

       6.      Upon information and belief, Defendant Oriental Trucking is a business with its

headquarters in Los Angeles County, California.
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        7.      The actions of Defendants Oriental Trucking, and Lihang Liu, which are the subject

of this lawsuit, all occurred within the state of New Mexico, County of Luna, while Defendant

Lihang Liu was operating a Commercial Motor Vehicle within the State.

        8.      Upon information and belief, AmTrust North America provided liability insurance

coverage for the vehicle Lihang Liu was operating at all times material to this lawsuit, and as the

liability insurer for the negligent driver is a proper party to this action

        9.      The amount in controversy exceeds seventy-five thousand dollars.

        10.     All parties to the lawsuit have diversity of citizenship.

        11.     Jurisdiction and venue are proper with this Court pursuant to 28 U.S.C. § 1332(a)(1).

                                   GENERAL ALLEGATIONS

        12.     Plaintiffs incorporate each and every allegation above as though the same were set

out herein.

        13.     On or about December 8, 2015, Lihang Liu was traveling westbound on Interstate 10

near milepost 95.

        14.     On or about December 8, 2015, Lihang Liu was operating/driving a commercial

freight truck for Defendant Oriental Trucking.

        15.     On or about December 8, 2015, Plaintiff Sherri Harshbarger was operating/driving a

commercial freight truck for Garrison Trucking.

        16.     On or about December 8, 2015, Plaintiff Sherri Harshbarger was traveling eastbound

on Interstate 10 near milepost 95.

        17.     On or about December 8, 2015, Plaintiff Mark Tadlock was a passenger in the

commercial freight truck driven by Plaintiff Sherri Harshbarger.


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        18.     Defendant Lihang Liu, was traveling westbound on Interstate 10 near milepost 95

when his driver side axle assembly became disengaged/separated from his truck and bounced across

the road over the median and slammed into the truck operated by Plaintiff Sherri Harshbarger.

        19.     The impact of Defendant Lihang Liu’s axle assembly into the truck Plaintiff

Harshbarger was operating caused the vehicle Plaintiff Harshbarger was driving to crash.

                                        COUNT I
                                 DUTY OF ORDINARY CARE

        20.     Plaintiffs incorporates each and every allegation above as though the same were set

out herein.

        21.     The actions of Defendant Lihang Liu in operating and maintaining his vehicle was

negligent.

        22.     Defendant Lihang Liu had a duty of ordinary care to Plaintiffs to operate and maintain

his vehicle in a reasonably safe manner.

        23.     Defendant Lihang Liu breached his duty to Plaintiffs Sherri Harshbarger and Mark

Tadlock by failing to maintain the equipment on his truck is proper working condition.

        24.     Upon information and belief, the axle assemble that became disengaged and separated

from Defendant Lihang Liu’s vehicle failed because Defendants failed to properly maintain, inspect

or repair the parts.

        25.     Defendant Lihang Liu breached his duty to Plaintiffs Sherri Harshbarger and Mark

Tadlock by failing to ensure that his equipment was safe for the road.

        26.     As a direct and proximate result of the negligence of Defendant Lihang Liu, Plaintiffs

Sherri Harshbarger and Mark Tadlock were injured.



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          27.   Defendant AmTrust North America is liable for damages caused by Defendant Lihang

Liu, which are covered by the relevant insurance policy.

                                         COUNT II
                                     NEGLIGENCE PER SE

          28.   Plaintiffs incorporate each and every allegation above as though the same were set out

herein.

          29.   The actions of Defendant Lihang Liu in failing to give his full time and entire

attention to the operation and maintenance of his vehicle; in maintaining his vehicle in an inattentive

or imprudent manner without due regard for his vehicles safety on the roadway; and in failing to

maintain his equipment as required by the New Mexico Motor Vehicle Code was negligent per se.

          30.   As a direct and proximate result of the negligence per se by Defendant Lihang Liu,

Plaintiffs were injured.

          31.   Defendant JTC Insurance Co. is liable for damages caused by Defendant Lihang Liu,

which are covered by the relevant insurance policy.

                                   COUNT III
                    RESPONDEAT SUPERIOR/VICARIOUS LIABILITY

          32.   Plaintiffs incorporate each and every allegation above as though the same were set out

herein.

          33.   At all times relevant to this Complaint Defendant Lihang Liu was an employee/agent

of Defendant Oriental Trucking.

          34.   Upon information and belief Defendant Lihang Liu was in the course and scope of his

employment duties when his negligence caused harm to the Plaintiffs on December 8, 2015.




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        35.     Upon Information and belief Defendant Lihang Liu was a truck driver for Defendant

Oriental Trucking.

        36.     Defendant Lihang Liu caused serious injuries to Plaintiffs Sherri Harshbarger and

Mark Tadlock while operating a vehicle for Defendant Oriental Trucking.

        37.     As a direct and proximate result of Defendant Oriental Trucking’s negligence in

allowing Defendant Lihang Liu to operate and maintain the Commercial Freight Truck, Plaintiffs

were injured.

        38.     In addition, as a separate basis for liability, Defendant Oriental Trucking is liable for

all harms and damages caused by its employee Lihang Liu under the doctrine of Respondeat

Superior.

                                             DAMAGES

        39.     Plaintiffs incorporate each and every allegation above as though the same were set

out herein.

        40.     As a direct and proximate result of the negligence of Defendants, Plaintiffs suffered

injuries which have resulted in medical expenses, pain and suffering, temporary and possible

permanent physical impairment, non-medical expenses and other damages.

        WHEREFORE, Plaintiffs request that this Court enter judgment against the Defendants in

an amount sufficient to compensate Plaintiffs for their damages, for prejudgment and post-judgment

interest as provided by law, for costs of this action, and for such other and further relief as the Court

deems just and proper.

        Plaintiffs demand a jury trial on all issues.




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                               Respectfully Submitted,

                               MARTINEZ, HART, THOMPSON &
                               SANCHEZ, P.C.

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